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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

PRIORITIES USA,
                   Plaintiff,
                                                 Civil Action No.
      v.
JOCELYN BENSON, in her official
capacity as the Michigan Secretary of State,
                   Defendant.



    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiff Priorities USA files this Complaint for Declaratory and Injunctive

Relief against Defendant JOCELYN BENSON, in her official capacity as the

Michigan Secretary of State, and alleges as follows:

                            NATURE OF THE CASE

      1.     The right to vote is “of the essence of a democratic society,” and

restrictions on the franchise “strike at the heart of representative government.”

Reynolds v. Simms, 377 U.S. 533, 555 (1964). But, for absentee voters in

Michigan, this fundamental right is contingent on the State’s arbitrary and

standardless signature matching laws, which have disenfranchised hundreds of

voters in recent elections for no other reason than an election official’s subjective

and arbitrary determination that a voter’s signature on an absentee ballot (or ballot



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application) did not match a prior signature that the voter provided to election

officials.

         2.   These error-prone signature comparisons (collectively, the “Signature

Matching Regime”) are mandated by outdated Michigan election laws that apply to

multiple phases of the absentee voting process. In the first phase, the city or

township clerk1 must compare a voter’s signature on an absentee ballot application

with her previously digitized signature set forth in the Qualified Voter File, or the

State’s voter database, or, if not available, her “master” card signature2 on file

(collectively, the “reference signature”), and reject all applications for which the

clerk determines that the voter’s signatures do not match. MICH. COMP. LAWS §

168.761(1)-(2).

         3.   If a voter’s absentee ballot application survives the first round of

signature matching, and the voter receives and submits her absentee ballot, a city

or township clerk must conduct the signature-matching review again, this time

comparing the voter’s signature on the absentee ballot envelope with the voter’s


1
  In Michigan, city and township clerks “maintain the registration records for their
respective jurisdictions and are responsible for administering all federal, state,
county and local elections.” Michigan’s Elections Systems Structure Overview,
MICH. SEC’Y OF STATE, https://www.michigan.gov/sos/0,4670,7-127-1633_8716-
27476--,00.html.
2
  “Master card” signatures are generated from voter registration applications.
Election Officials’ Manual, MICH. BUREAU OF ELECTIONS at 10 (February 2019),
https://www.michigan.gov/documents/sos/II_Voter_Registration_265983_7.pdf.


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reference signature, and reject the ballot if the clerk concludes that the signatures

do not match. See MICH. COMP. LAWS ANN. § 168.765a(6).

         4.   Finally, the clerk must send the absentee ballots that survive the initial

signature reviews to the board of election inspectors,3 which once again compares

the voter’s signature on the absentee ballot envelope with the reference signature

and rejects the ballot outright if it concludes that the signatures do not match. See

MICH. COMP. LAWS § 168.766(1)(a), (2).

         5.   Thus, under this Signature Matching Regime, Michiganders who

attempt to vote absentee can be denied the franchise outright based solely on an

election official’s determination, during any one of the several stages of signature

review, that a voter’s signature on the ballot envelope does not sufficiently

resemble a signature that she provided to election officials at some point in the

past.

         6.   The problem with this scheme is that individuals often vary how they

sign their name for many well-documented reasons, including, for example, age,

illness, injury, medication, eyesight, pen type, ink, writing surface or position,

paper quality, or psychological factors, and State law does not require election


3
  In Michigan, a board of election inspectors, which consists of appointed and
trained qualified electors, is charged with counting absentee ballots, among other
duties.



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officials—neither clerks nor the board of election inspectors—to undergo any

training whatsoever in signature or handwriting analysis that would allow them to

distinguish accurately between normal variations in authentic signatures and

forgeries. In fact, no one really knows how Michigan election officials decide

whether a signature on an absentee ballot or ballot application is sufficiently

similar to the previously designated signature to withstand scrutiny. Here, election

officials have unfettered discretion, and the fate of an absentee ballot or ballot

application depends on whichever arbitrary standard is employed by the particular

city or township in which the voter resides, as well as the election officials charged

with reviewing the signatures.

      7.     As numerous studies have shown, signature matching conducted by

laypersons results in a high rate of error that not only skews toward the over-

rejection of legitimate signatures, but also disproportionately impacts the votes of

racial and ethnic minorities, young first-time voters, individuals with disabilities,

and senior-citizens.

      8.     And yet, notwithstanding the high rate of error inherent in signature

matching, State law provides no mechanism by which voters whose ballots are

wrongfully discarded for alleged signature mismatches may challenge that

determination or cure their rejected ballots or absentee ballot applications.




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      9.     Michigan law does not even require election officials to notify voters

that their ballots or absentee ballot applications have been rejected for an alleged

signature mismatch, meaning that voters may be unaware that they must take

action to ensure that their vote is counted, if there is time to do so, before 8 p.m. on

Election Day. Recognizing the significant threat of disenfranchisement that this

lack of notification poses, even the Defendant Secretary of State Benson has

endorsed revisions to Michigan law to require “clerks to try to notify voters who

send in ballot envelopes with . . . mismatched signatures.” AP, Michigan Secretary

of State Proposes Having Absentee Ballots Counted Before Election Day (Mar. 11,

2019), https://www.wxyz.com/news/michigan-secretary-of-state-proposes-having-

absentee-ballots-counted-before-election-day.      Under     the    current   statutory

framework, however, the penalty for a perceived but wrongful determination of a

signature mismatch is often disenfranchisement.

      10.    The burden that these laws impose on the right to vote is undeniable

and unjustified. Any potential concerns about voter fraud in the absentee voting

process are already effectively addressed by other Michigan laws, including

statutes criminalizing behavior that the Signature Matching Regime purportedly

prevents. See, e.g., MICH. COMP. LAWS § 168.759(5), (8) (criminalizing falsifying

or forging signatures on absentee applications); MICH. COMP. LAWS § 168.761(4)

(criminalizing falsifying absentee ballots). And, as the former Michigan Director


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of Elections acknowledged, “Michigan does not have a culture of fraudulent

elections.”

      11.     A growing number of courts across the country have recognized that

such arbitrary rejection of absentee ballots and ballot applications—based on

subjective signature comparisons by untrained individuals, and without

notification, much less an opportunity to contest or cure such a determination—

imposes an undue burden on the right to vote, subjects similarly-situated voters to

diverging standards, and erroneously deprives voters of their due process rights, in

violation of the First and Fourteenth Amendments to the United States

Constitution. See, e.g., Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,

1319-1320 (11th Cir. 2019) (holding Florida’s failure to “enact[] uniform standards

for matching signatures” and the lack of “qualifications or training for those who

engage in the job” of signature matching seriously burdened the right to vote);

Saucedo v. Gardner 335 F. Supp. 3d 202, 222 (D.N.H. 2018) (holding New

Hampshire’s signature matching law, which resulted in the rejection of hundreds of

absentee ballots, violated the Due Process Clause because it “vest[ed] moderators

with sole, unreviewable discretion to reject ballots due to signature mismatch,” did

not impose “training and functional standards on handwriting analysis,” and did

not provide an opportunity to cure); Martin v. Kemp, 341 F. Supp. 3d 1326, 1339-

40 (N.D. Ga. 2018) (holding Georgia’s signature matching law, which gave an


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untrained election official “unchecked discretion” to determine if two signatures

match and imposed an illusory cure process, violated the Due Process Clause); Fla.

Democratic Party v. Detzner, No. 4:16-cv-607, 2016 WL 6090943, at *8 (N.D.

Fla. Oct. 16, 2016) (holding Florida signature matching law that provided no

opportunity    to   cure   signature   mismatch   determinations      imposed   “an

unconstitutional obstacle to the right to vote”); LULAC v. Pate, Case No.

CVCV056403 (Iowa Dist. Ct Sept. 30, 2019) (holding Iowa’s signature matching

law for absentee ballots, which required untrained officials to compare signatures

without adequate standards, violated the Iowa Constitution).

      12.     Absent relief from this Court, Michigan’s Signature Matching Regime

will disenfranchise many more voters in upcoming elections, particularly in light

of the State’s recently-enacted constitutional amendment adopting no-reason

absentee voting. In other words, the Signature Matching Regime will not only deny

Michiganders the right to vote, but it will also undermine the election reforms

approved by voters specifically to expand access to the franchise. Plaintiff

therefore brings this lawsuit to enforce the fundamental right to vote protected by

the United States Constitution.




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                             JURISDICTION AND VENUE
       13.    Plaintiff brings this action under 42 U.S.C. §§ 1983 and 1988 to

redress the deprivation under color of state law of rights secured by the United

States Constitution.

       14.    This Court has original jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. §§ 1331 and 1343, because the matters in controversy

arise under the Constitution and laws of the United States.

       15.    This Court has personal jurisdiction over the Defendant, the Secretary

of State, who is sued in her official capacity only.

       16.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because,

inter alia, a substantial part of the events that gave rise to Plaintiff’s claim occurred

in this judicial district.

       17.    This Court has the authority to enter a declaratory judgment pursuant

to 28 U.S.C. §§ 2201 and 2202.

       18.    All conditions precedent to the maintenance of this case and

Plaintiff’s claims have occurred, been performed, or otherwise been waived.

                                      PARTIES

       19.     Plaintiff Priorities USA (“Priorities”) is a 501(c)(4) nonprofit, voter-

centric progressive advocacy and service organization. Priorities’ mission is to

build a permanent infrastructure to engage Americans in the progressive movement



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by running a permanent digital campaign to persuade and mobilize citizens around

issues and elections that affect their lives. In furtherance of this purpose, Priorities

works to help educate, mobilize, and turn out voters across the country, including

in Michigan. Priorities expects to make contributions and expenditures in the

millions of dollars to educate, mobilize and turn out voters in the upcoming

elections around the country, including in Michigan state and federal elections.

Michigan’s Signature Matching Regime directly harms Priorities by frustrating its

mission of, and efforts in, educating, mobilizing and turning out voters in the State

by disenfranchising voters due to perceived signature mismatches. Priorities is

aware of the Signature Matching Regime and will have to expend and divert

additional funds and resources in GOTV, voter education efforts, mobilization, and

turn out activities in Michigan, at the expense of its efforts in other states and its

other efforts in Michigan, in order to combat the effects of the Signature Matching

Regime on individuals who attempt to vote by absentee ballot only to have their

ballots erroneously rejected.

      20.    Defendant, JOCELYN BENSON, is the Secretary of State of

Michigan and is sued in her official capacity. She is Michigan’s chief elections

officer and, as such, has “supervisory control over local election officials in the

performance of their duties.” MICH. COMP. LAWS § 168.21. She is specifically

responsible for “[a]dvis[ing] and direct[ing] local election officials as to the proper


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methods of conducting elections.” MICH. COMP. LAWS § 168.31(1)(b). Secretary

Benson is also responsible for “[e]stablish[ing] a curriculum for comprehensive

training and accreditation of all county, city, township, and village officials who

are responsible for conducting elections.” Id. at (1)(j). The Secretary of State,

personally and through the conduct of her employees, officers, agents, and

servants, acted under color of State law at all times relevant to this action.

                      STATEMENT OF FACTS AND LAW

   A. Michigan Law Imposes a Signature Matching Requirement on Absentee
      Ballot Applications.

      21.    The Michigan Constitution gives voters the right to cast absentee

ballots, see MICH. CONST., art. II, § 4(1)(g), and the practice is very popular in the

State. In the 2016 presidential and the 2018 midterm elections, for example, over a

million Michiganders—or around a quarter of the electorate—voted absentee.

      22.    Before casting an absentee ballot, voters in Michigan must submit an

application, which can be done in-person or by mail. An application submitted by

mail must be received by the clerk by 5 p.m. on the Friday before Election Day,

see MICH. COMP. LAWS § 168.759(1), though an individual applying in-person for

an absentee ballot can do so until 4 p.m. on the day before Election Day. MICH.

COMP. LAWS § 168.761(3). A voter who registers to vote in-person on Election

Day, however, can apply for and obtain an absentee ballot until 8 p.m. that day.

See MICH. COMP. LAWS § 168.759(2).

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      23.    Once a voter’s application for an absentee ballot is submitted,

Michigan law requires the receiving township or city clerk to compare the

signature on the absentee ballot application to the corresponding voter’s digitized

signature in the Qualified Voter File or, if that signature is not available, to the

voter’s registration or “master” card signature. MICH. COMP. LAWS § 168.761(2).

      24.    If the clerk determines that the signature on the application matches

the designated signature of the voter, the clerk will then forward by mail, or

provide in-person, an absentee ballot and a return envelope to the voter to allow

him to vote absentee. See id. at (1). But if the clerk determines that the signature on

the absentee ballot application and the voter’s corresponding reference signature

do not match, the clerk must reject the application. See id.

      25.    To be sure, the clerks’ signature matching determinations are not

driven by any uniform, statewide standard. Michigan law gives no guidance on the

questions that inevitably arise in conducting signature matching, including, for

example, what stylistic differences suggest that two signatures were made by

different individuals, as opposed to one individual whose signatures merely show

natural variations for reasons unrelated to their authenticity.

      26.    Nor are the clerks or members of the board who conduct this signature

matching exercise required to undergo any type of handwriting analysis or




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signature matching training before comparing signatures and determining whether

to reject absentee ballot applications due to perceived mismatches.

      27.    Furthermore, Michigan law does not require a clerk to inform a voter

of a rejected absentee ballot application. And voters in Michigan have no means

under State law by which they can contest a wrongful determination, much less

cure an alleged signature mismatch.

   B. Michigan Law Imposes a Signature Matching Requirement on Absentee
      Ballots.
      28.    To vote an absentee ballot—which requires that the voter’s absentee

ballot application survive the first signature review—voters must place the ballot in

a specially designated, sealed secrecy envelope and sign the outside of the

envelope before submitting it to the clerk. MICH. COMP. LAWS § 168.764a.

      29.    A voter can either submit her ballot by mail, in-person, or by making

special arrangements for a clerk’s representative to pick up the ballot. Id. at (a)-(b),

(d). Alternatively, a member of the voter’s “immediate family,” which is defined

narrowly, “may mail or deliver [the] ballot to the clerk for the voter.” Id. at (c).

      30.    For an absentee ballot to be counted, it must reach the clerk or an

authorized assistant before the polls close at 8 p.m. on Election Day, id. at (d), and

it must pass yet another signature-match examination.

      31.    Similar to restrictions on absentee ballot applications, Michigan law

mandates that an absentee ballot be rejected if the signature on the ballot envelope

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does not match the voter’s reference signature. See MICH. COMP. LAWS ANN. §

168.767. Specifically, Michigan Compiled Laws Section 168.767 states:

      If . . . it is determined that the signature on the envelope does not
      agree sufficiently with the signature on the registration card or the
      digitized signature contained in the qualified voter file as provided
      under section 766. . . , then such vote shall be rejected.4

      32.    Michigan law requires the township or city clerk to conduct this

signature matching analysis in the first instance and send to the board of election

inspectors only the absentee ballots that pass the clerk’s initial signature matching

review. See MICH. COMP. LAWS § 168.765a(6).

      33.    The board of election inspectors then conducts yet another round of

signature matching. See MICH. COMP. LAWS § 168.766(1)(a). In particular, the

statute provides:

      Upon receipt from the city or township clerk of any envelope
      containing the marked ballot or ballots of an absent voter, the board of
      inspectors of election shall verify the legality of the vote by. . .
      [e]xamining the digitized signature for the absent voter included in the
      qualified voter file under section 509q or the registration record as


4
  The most recent version of the Election Officials’ Manual also requires that “the
signature appearing on the [absentee voter] certificate must be checked against the
signature on the applicant’s [absentee ballot] application which was previously
checked against the applicant’s voter registration record to verify the applicant’s
identity.” Election Officials’ Manual, MICH. BUREAU OF ELECTIONS at 6 (February
2019),
https://www.michigan.gov/documents/sos/VI_Michigans_Absentee_Voting_Proce
ss_265992_7.pdf.



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        provided in subsection (2) to see. . . that the signature on the statement
        agrees with the signature on the registration record.

Id.

        34.   Like the review of ballot applications, election officials engaged in

signature matching for absentee ballots are not guided by any statewide uniform

standard, nor do they receive any training in signature analysis or any other

guidance from the State on what constitutes a valid signature.

        35.   Furthermore, when an absentee ballot is rejected due to a signature

mismatch determination, Michigan law does not require election officials to inform

the voter of this decision. Thus, voters may not be aware that they must take

further action to ensure that their vote is counted before the 8 p.m. Election Day

deadline, and Michigan law does not provide voters an opportunity to contest,

much less cure, a signature mismatch determination.5

      C. Michigan’s Signature Matching Regime is Highly Error-Prone.

        36.   Because Michigan’s Signature Matching Regime involves untrained

human reviewers, it is highly error-prone. Studies conducted by experts in the field

of handwriting analysis have repeatedly found that signature verification by



5
  Though, Michigan law allows voters to “cure” provisional ballots within 6 days
after Election Day to ensure that they are counted. See MICH. COMP. LAWS §
168.813.



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laypersons is inherently unreliable, and non-experts are significantly more likely to

misidentify authentic signatures as forgeries.

      37.    In one study, for instance, laypersons falsely declared authentic

signatures to be inauthentic at least 26 percent of the time, despite having access to

six authentic reference signatures for comparison. K. Gummadidala, Signature

authentication by forensic document examiners, J. FORENSIC SCI., 46(4) 884-88

(2001).

      38.    This high rate of error is due in part to the fact that handwriting can

change quickly for a variety of reasons, including physical factors, such as age,

illness, injury, medication, eyesight, alcohol, and drugs; mechanical factors, such

as pen type, ink, writing surface and position, and paper quality; and psychological

state of mind.6 See, e.g., Tomislav Fotak, et al., Handwritten signature

identification using basic concepts of graph theory, 7 WSEAS Transactions on

Signal Processing 145 (2011).

      39.    It is, therefore, inevitable that election officials will erroneously reject

legitimate ballots due to misperceived signature mismatches, resulting in the

disenfranchisement of eligible voters.



6
  Signatures also can vary significantly over time. See Michael P. Caligiuri, et al.,
Kinematics of Signature Writing in Healthy Aging, 59 J. OF FORENSIC SCI. 1020
(2014), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4077921/.


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      40.    Signature matching laws are particularly problematic for racial and

ethnic minority voters; young, first-time voters; voters with disabilities; and senior

citizen voters, all of whom are more likely to have variations in their signatures, or

voters who may require assistance from others to enter a signature. See Caligiuri,

supra (concluding that the “advanced age of a writer likely contributes to

uncertainty and reduced reliability in the document examiner’s judgment of

authenticity”). And this is true in Michigan, where the signatures of immigrants

and first-time voters are often flagged for signature mismatch.

   D. Michigan’s Townships and Cities Employ Different Signature Matching
      Procedures.
      41.    As one federal court found, the absence of any standards or training to

differentiate between natural signature variation and signature mismatches results

in “a crazy quilt of conflicting and diverging procedures.” Detzner, No. 4:16-cv-

607, 2016 WL 6090943, at *7.

      42.    This is also true in Michigan, where cities and townships use different

signature matching procedures for both absentee ballots and ballot applications.

For example, many cities and townships in Michigan do not follow any specific

signature matching criteria and simply conduct a visual analysis. In contrast,

Canton Township has a written, formal process that first examines: (1) whether the

signatures are both in cursive or in print; (2) the speed of the signatures; (3) the

spacing of the letters; (4) the size and proportion of the signatures; (5) the position

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of the signatures; and (6) spelling and punctuation. Then, if there are “clear

inconsistencies,” clerks in that Township look at other characteristics, such as

curves, loops, crosses, dots, and pen lifts to determine if two signatures are

sufficiently similar to pass scrutiny.

          43.   The lack of statewide, uniform guidance regarding signature

matching across Michigan’s townships and cities has also resulted in significant

variations both in absentee ballot and absentee ballot application rejection rates

across the State, and in the procedures for notifying voters (if at all) of perceived

signature mismatches. Upon information and belief, many cities and townships do

not even attempt to provide notice. The City of Rochester Hills, on the other hand,

attempts to contact voters through social media, and by telephone, email, or a

letter.

          44.   Furthermore, while Michigan law does not set forth a cure process for

absentee ballot applications—and many jurisdictions do not allow voters to cure

rejected absentee ballots—some cities and townships have voluntarily adopted cure

procedures; though, their processes vary significantly. For example, Independence

Township requires voters to submit both a new voter registration form and

absentee ballot application; Van Buren Township only requires individuals to

submit a new voter registration application; and the City of Royal Oak requires

voters to fill out a city form. By contrast, Canton Township provides no cure


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procedure and simply informs voters that their absentee ballot application “cannot

be processed,” if a clerk finds a signature mismatch.

      45.    The same is true of cure processes for absentee ballots. Clinton and

Oakland Townships, for example, allow voters to cure absentee ballots by

appearing in-person at the Clerk’s office with photo identification and re-signing

their ballot envelope. The Cities of Wixom and Livonia do not require photo

identification, only that individuals re-sign their absentee ballot or stop by the

clerk’s office to get a new ballot. Other cities and townships do not allow voters to

cure their absentee ballots at all.

      46.    These varying signature matching, notification, and curing procedures

result in unequal opportunities for absentee voters to exercise their right to vote

and cast an effective ballot in an election, which ultimately depends on whatever

arbitrary standard is adopted by the city or township in which the voter resides.

   E. The Signature Matching Regime is Not Justified By Any Legitimate
      State Interest.
      47.    The Signature Matching Regime cannot be justified by any State

interest in preventing absentee ballot fraud, as even the State’s election officials

have found no evidence that such fraud is occurring in Michigan.




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      48.    The challenged laws are also duplicative of several other safeguards

against fraud that are currently in place.7 For example, all applicants for an

absentee ballot must certify—subject to criminal penalties explicitly spelled out on

the face of the application, MICH. COMP. LAWS § 168.759(5)—that “the statements

in th[e] absent voter ballot application are true.” Id.; see also id. at (8). Michigan

law also makes it a felony to forge a signature on an absentee ballot application,

id., and these criminal penalties for voter fraud already provide, in the words of

former Michigan Director of Elections, Chris Thomas, “a heck of a deterrent.”

      49.    Michigan law also restricts who can be in possession of a signed

absentee ballot application. See id. at (4). In particular, only an applicant, her

immediate family member, someone in her household, someone whose job it is to

normally handle mail, a registered Michigan elector chosen by the applicant to help

return her application, or an authorized election official can physically handle her

absentee ballot application. See id.

      50.    And any “registered elector who is requested by the applicant to

return his or her absent voter ballot application shall sign the certificate on the

absent voter ballot application,” MICH. COMP. LAWS § 168.759(6)(d), and must


7
  Michigan clerks and the board of election inspectors also verify that the voter is
registered to vote in their city or township. MICH. COMP. LAWS § 168.761(1);
MICH. COMP. LAWS § 168.766(1)(a).



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certify that, among other things, he or she “ha[s] not made any markings on the

application”; “ha[s] not altered the application in any way”; “ha[s] not influenced

the applicant”; and is “aware that a false statement in th[e] certificate is a violation

of Michigan election law.” Id. at (5). An unauthorized person who distributes and

returns absentee ballot applications is guilty of a misdemeanor. Id. at (8).

      51.    Further, a voter applying for an absentee ballot in-person, in addition

to signing the application, MICH. COMP. LAWS § 168.759(4), must show photo

identification or sign an Affidavit of Voter Not in Possession of a Picture

Identification form. MICH. COMP. LAWS § 168.761(6).

      52.    Michigan law also provides many safeguards against fraud for

absentee ballots—which voters receive after already having survived the signature

matching review applied to absentee ballot applications. See id. at (2).

      53.    First, the face of the absentee ballot envelope informs voters that “AN

ABSENT VOTER WHO KNOWINGLY MAKES A FALSE STATEMENT IS

GUILTY OF A MISDEMEANOR.” Id. at (4).

      54.    Anyone who assists a voter in completing an absentee ballot must

identify himself, MICH. COMP. LAWS § 168.764a, and that person is subject to

criminal felony charges if he makes a knowingly false statement on the envelope.

      55.    Michigan law further makes it a crime for anyone other than a voter,

the voter’s immediate family member, or a “person whose job it is to handle mail,”


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“to be in possession of a voted or unvoted absent voter ballot.” MICH. COMP. LAWS

§ 168.764a(5). In other words, possession of an absentee ballot by anyone not

specified by statute is a felony. MICH. COMP. LAWS § 168.932(f).

      56.    Even the U.S. Postal Service’s procedures provide an informal check

on potential fraud: ballots that are mailed to voters are returned if the individual

does not live at the designated address.8

    F. The Signature Matching Regime Has Denied Eligible Michigan Voters
       The Right To Vote And Threatens To Disenfranchise Many More In
       Future Elections.
      57.    Since the 2012 general election, officials in Michigan have rejected

more than 1,200 absentee ballots in total, according to the Election Administration

and Voting Survey. These rejections occurred at a time when Michigan law limited

absentee voting to senior citizens and those who were unable to vote in-person on

Election Day.9 In 2018, Michigan adopted no-reason absentee voting, thereby

eliminating restrictions on who can vote by mail. See MICH. CONST. art. II, § 4.


8
  See Election Officials’ Manual, MICH. BUREAU OF ELECTIONS at 6 (February
2019),
https://www.michigan.gov/documents/sos/VI_Michigans_Absentee_Voting_Proce
ss_265992_7.pdf (“Absentee ballot outgoing envelopes should have the postal
instruction ‘Return Service Requested’ printed on them.”).
9
  Under prior law, only those who fit the following criteria were allowed to vote
absentee: (1) voters 60 years old or older; (2) voters who were unable to vote in the
absence of assistance; (3) voters who were out of town on Election Day, (4) voters
in jail; (5) voters who were unable to vote due to religious reasons; or (6) voters
who worked as election inspectors outside of their precinct. MICH. COMP. LAWS §


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      58.    Cities and townships that have held elections recently under the new

laws have seen significant increases in absentee voting. In Ann Arbor, for instance,

the City saw a 22 percent increase in absentee ballots cast.

      59.    Because this growth trend will continue once no-reason absentee

voting is implemented throughout Michigan, the number of Michiganders who are

at risk of being disenfranchised due to the Signature Matching Regime will

increase dramatically absent relief from this Court.

                             CLAIMS FOR RELIEF

                                     COUNT I

                      First Amendment and Equal Protection
                  U.S. Const. Amend. I and XIV, 42 U.S.C. § 1983
                        Undue Burden on the Right to Vote
      60.    Plaintiff realleges and incorporates by reference paragraphs 1 through

59, as though fully set forth herein, as well as the proceeding paragraphs.

      61.    Under the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment, a state cannot utilize election practices that unduly burden

the right to vote. A court considering a challenge to a state election law must

carefully balance the character and magnitude of injury to the First and Fourteenth

Amendment rights that a plaintiff seeks to vindicate against the justifications put




168.758 (2017).


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forward by the state for the burdens imposed by the rule. See Burdick v. Takushi,

504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

      62.    Here, the Signature Matching Regime imposes a severe burden—

outright disenfranchisement—on the right to vote.

      63.    Rejecting absentee ballots, as well as denying absentee ballot

applications, based solely on an alleged signature mismatch does not serve any

legitimate, let alone compelling, state interest, particularly when the State has

otherwise verified voters’ eligibility to vote, and State laws are already in place to

detect and deter fraud.

      64.    Thus, the burdens imposed by the Signature Matching Regime on the

fundamental right to vote cannot be justified by any alleged benefits of the laws.

      65.    Injunctive and declaratory relief are needed to resolve this existing

dispute, which presents an actual controversy between the Defendant and Plaintiff,

who have adverse legal interests because the Signature Matching Regime subjects

Plaintiff to serious, concrete, and irreparable injuries.

                                      COUNT II

                                Equal Protection
                    U.S. Const. Amend. XIV, 42 U.S.C. § 1983
      66.    Plaintiff realleges and incorporates by reference paragraphs 1 through

65, as though fully set forth herein, as well as the proceeding paragraphs.




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      67.    The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution prohibits a state from “deny[ing] to any person within

its jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV, § 1.

This constitutional provision requires “that all persons similarly situated should be

treated alike.” City of Cleburne v. Cleburn Living Center, 473 U.S. 432, 439

(1985).

      68.    And this applies to voting. “Having once granted the right to vote on

equal terms, the State may not, by later arbitrary and disparate treatment, value one

person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).

      69.    Michigan’s standardless and error-prone Signature Matching Regime

subjects voters to arbitrary and diverging standards throughout Michigan,

depending on the city or township in which they reside.

      70.    The Signature Matching Regime does not further any legitimate state

interest, much less a compelling state interest, that is sufficiently weighty to justify

the disparate treatment of voters.

      71.    Injunctive and declaratory relief are needed to resolve this existing

dispute, which presents an actual controversy between the Defendant and Plaintiff,

who have adverse legal interests because the Signature Matching Regime subjects

Plaintiff to serious, concrete, and irreparable injuries.

                                     COUNT III


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                             Procedural Due Process
                     U.S. Const. Amend. XIV, 42 U.S.C. § 1983
       72.    Plaintiff realleges and incorporates by reference paragraphs 1 through

71, as though fully set forth herein, as well as the proceeding paragraphs.

       73.    The Fourteenth Amendment to the United States Constitution

prohibits states from “depriv[ing] any person of life, liberty, or property, without

due process of law.” U.S. CONST. amend. XIV, § 1. This constitutional provision

protects the fundamental right to vote and prohibits arbitrary or erroneous

deprivation. See Burdick, 504 U.S. at 433; see also Gore, 531 U.S. at 104-05.

       74.    The State, having created an absentee ballot regime, “must administer

it in accordance with the Constitution,” including with “adequate due process

protection.” Martin, 341 F. Supp. 3d at 1338.

       75.    Michigan’s Signature Matching Regime violates the Due Process

Clause by rejecting voters’ absentee ballots (and depriving them of their right to

vote) without notice, an opportunity to cure, or any meaningful appeal. Thus,

Michigan voters will continue to suffer unlawful disenfranchisement under the

laws, absent relief by this Court.

       76.    Providing adequate safeguards to prevent the arbitrary and erroneous

deprivation of the right to vote would impose no more than a minimal burden on

the State, if any.




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      77.    Injunctive and declaratory relief are needed to resolve this existing

dispute, which presents an actual controversy between the Defendant and Plaintiff,

who have adverse legal interests because the Signature Matching Regime subjects

Plaintiff to serious, concrete, and irreparable injuries.

      WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment:
             (a)    declaring, under the authority granted to this Court by 28
                    U.S.C. § 2201, that the Signature Matching Regime violates the
                    First and Fourteenth Amendments to the United States
                    Constitution;

             (b)    preliminarily and permanently enjoining the Defendant, her
                    respective agents, officers, employees, and successors, and
                    all persons acting in concert with each or any of them, from
                    implementing, enforcing, or giving any effect to the Signature
                    Matching Regime under the authority granted to this Court by
                    Federal Rule of Civil Procedure 65(a) and 28 U.S.C. § 2202;

             (c)    awarding Plaintiff its costs, disbursements, and reasonable
                    attorneys’ fees incurred in bringing this action pursuant to 42
                    U.S.C. § 1988 and other applicable laws; and

             (d)    granting such other and further relief as the Court deems just
                    and proper.

Dated this 30th day of October, 2019.

                                Respectfully submitted,

/s/ Marc E. Elias                           /s/ Andrew Nickelhoff
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      Counsel for the Plaintiff
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        Submitted or Pending


                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 30, 2019, the foregoing was filed
with the Clerk of the Court by using the CM/ECF system, which will send a notice
of electronic filing to all counsel of record.


                                             Respectfully submitted,

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